                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                          :
PRESIDENT, INC., et al,                      : CIVIL ACTION
                                             :
         Plaintiffs                          : No. 4:20-cv-02078
                                             :
         v.                                  : Judge Brann
                                             :
KATHY BOOCKVAR, et al,                       :
                                             :
         Defendants                          :


              PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY

          The relief requested by Plaintiffs is necessary to remedy the failure of

    Defendants1 to conduct the November 3, 2020 Presidential General Election in

    Pennsylvania with integrity, namely to ensure that: the election process was free,

    fair, and comported with the Constitution of the United States of America and

    Constitution of the Commonwealth of Pennsylvania. Accordingly, pursuant to

    Rules 26, 57 and 65 of the Federal Rules of Civil Procedure, Plaintiffs

    respectfully request this Honorable Court to order expedited discovery. Plaintiffs



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 Defendants are Kathy Boockvar, in her official capacity as the Secretary of the Commonwealth of
Pennsylvania (hereinafter “Boockvar”) and the County Election boards of Allegheny, Centre, Chester,
Delaware, Montgomery, Northampton, and Philadelphia Counties (hereinafter collectively, the
“Counties”)

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    have not yet conferred with counsel for Defendants due to the urgent timeframe,

    but assume that they oppose the Motion based on prior conferrals.2

          In support of this Motion, Plaintiffs aver as follows:

         1.      As explained in Plaintiffs’ Second Amended Verified Complaint

for Declaratory and Injunctive Relief serious deviations from Pennsylvania’s

Election Code occurred during the recent General Election in the Defendant

Counties.

         2.    Those deviations undermine the integrity of the election result and

impinge upon the constitutional rights of Plaintiffs and all other eligible registered

voters in Pennsylvania to a free and fair election.

         3.    The restrictions on poll watchers and observers diminished the

guarantee of free and fair elections by, among other things, locking out poll watchers

and observers from observing canvassing and counting mail-in ballots. The

restrictions unnecessarily and improperly restricted the locations where poll

watchers and observers could watch to ensure the integrity of the ballot counting

process. Instead, in Democrat controlled Defendant Counties, the Trump

Campaign and other Republican poll watchers were denied the opportunity to


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 In a related pre-election matter in the Western District of Pennsylvania, the Court granted the Trump
Campaign expedited discovery. Trump, et al. v. Boockvar, et al., 2:20-CV-00966-NR (ECF 124).

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meaningfully observe canvassing and counting of mail-in ballots. Often, they were

kept more than 25 feet away so that they could not observe the contents of the

outside envelopes. Plaintiffs believe this was done by Defendant Counties in

order to count ballots that they believed would favor former Vice-President Biden

because it was well known that mail-in ballots would be overwhelmingly cast by

voters favoring Vice President Biden while voters favoring President Trump

intended to vote in person. In fact, it appears that Vice President Biden received

approximately 75% of the mail-in ballots in these counties.

         4.   Plaintiffs believe that over 1.5 million mail-in ballots were counted in

the Defendant Counties. Plaintiffs further believe that many of these ballots –

even as many as tens of thousands – should not have been counted because they

were improperly executed by purported voters lacking signatures, addresses and

dates.

         5.   Consequently, on November 9, 2020, Plaintiffs initiated this litigation

to ensure that the election in Pennsylvania was free, fair, transparent, and

conducted with integrity.

         6.   Under Pennsylvania law, the Secretary of the Commonwealth is to

certify the results of the election by November 23, 2020. The Electoral College

of the United States is to meet December 14, 2020. This Court should expedite

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discovery so that Plaintiffs can obtain evidence in the possession of Defendants

and present their case.

      7.     As pled in the Complaint, absentee and mail-in ballots are cast with an

outside envelope and an inner secrecy envelope. Under Pennsylvania law, the

outside envelope contains a declaration to be signed by the voter. The voter must

sign the outside envelope, write the voter’s address, and date it. Pursuant to

Pennsylvania statutes, mail-in ballots may not be counted if any requirement for

executing the outside envelope is not satisfied or if the ballot is not contained

inside the sealed inside envelope. 25 P.S. §§3146.6(a), 3146.8(g)(4)(i)-(iv);

3150.16(a). It is blackletter law that “voters are at risk for having his or her ballot

rejected due to minor errors made in contravention of those [mail voting]

requirements”, as recently affirmed in in Crossy v. Boockvar, 2020 Pa.LEXIS

4872, *56 (Pa., September 17, 2020), which also concluded “the secrecy envelope

provision to be mandatory”. Id. *66

      8.     Plaintiffs request discovery on an expedited basis to determine

information relevant to their allegations including, but not limited to:

   a. Copies (paper and electronic) of outside envelopes of all mail-in ballots that
      were canvassed and approved by the Defendant Counties;

   b. Access to inspect all outside and inside envelopes of all mail-in ballots that
      were canvassed and approved by the Defendant Counties;

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   c. Documents evidencing the number of votes cast for each candidate in the
      General Election in each county at the voting machines, by absentee ballot,
      by mail-in ballot, and provisional ballot;

   d. Lists of all voters who were permitted to correct their mail-in ballots and
      copies of all notifications sent to voters that their mail-in ballots needed to
      be corrected;

   e. Oral Deposition of Defendant Boockvar;

   f. Rule 30(b)(6) Depositions of each Defendant County regarding the conduct
      of the 2020 General Election (topics to be provided once outside and inside
      envelopes are produced);

   g. All communications between and among Defendant County officials, the
      Pennsylvania Department of State, including Defendant Boockvar and
      Jonathan M. Marks, Deputy Secretary for Elections & Commissions, and
      voters, candidate representatives and political party representatives
      concerning communication to and with voters, candidate representatives and
      political party representatives about voters whose absentee and mail-in
      ballots had rejected at any time by the county board.

      9.     The targeted discovery sought by Plaintiffs is relevant to their

requests for declaratory and injunctive relief. For example, Plaintiffs, inter alia,

seek copies of and a process to inspect the outside envelopes that were canvassed

and approved for counting to determine if the statutory requirements were met.

Plaintiffs will engage a statistical expert to determine the number of ballots that

were improperly counted based on statistically significant sampling. This

procedure of sampling and statistical analysis was approved by Marks v. Stinson,

19 F.3d 873 (3d Cir. 1994), which observed:


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      Courts, with the aid of expert testimony, have been able to
      demonstrate that a particular result is worthy of the public's
      confidence even though not established solely by applying
      mathematics to the record evidence. See eg. Curry, 802 F.2d at 1317-
      19. What is required is evidence and an analysis that demonstrate
      that the district court's remedy is worthy of the confidence of the
      electorate.

 Id., fn. 14

      10.      This principle was applied by the District Court on remand in relying

on statistical evidence in removing William Stinson and placing Bruce S. Marks in

a Pennsylvania state Senate seat by excluding illegally cast mail-in ballots and

finding Marks won the election. See Marks v. Stinson, 1994, U.S. District LEXIS

5273 (E.D. Pa. April 26, 1994).

      11.      Rule 57 of the Federal Rules of Civil Procedure provides, in

relevant part, that “[t]he court may order a speedy hearing of a declaratory

judgment action.” Fed. R. Civ. P. 57.

      12.      Under Rule 57, a district court possesses “broad discretion” in

deciding whether expedited proceedings are warranted, and this discretion stems

from district courts’ “inherent authority to manage their dockets and courtrooms

with a view toward the efficient and expedient resolution of cases.” Cty. of Butler

v. Wolf, No. 2:20-cv-677, 2020 U.S. Dist. LEXIS 93484, at *6 (W.D. Pa. May 28,

2020) (quoting Walsh/Granite Jv v. Hdr Eng'g, Inc., 2018 U.S. Dist. LEXIS

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232490, 2018 WL 10228391 (W.D. Pa. Jan. 3, 2018)).

      13.       Factors for a district court to consider under Rule 57 include:

                a.    “[W]hether expediting determination of the requested
                      declaratory judgment ‘will streamline and narrow issues for
                      discovery and trial, even if it will not entirely resolve the
                      controversy[;]’”

                b.    Whether the “determination [of the requested declaratory
                      judgment is] largely one of law, and factual issues (while
                      expedited discovery is permitted and frequently granted) are not
                      predominant[;]” and

                c.    Whether there are “imminent or ongoing violations of
                      important rights.”

Cty. of Butler, 2020 U.S. Dist. LEXIS 93484, at *6, *7 (citations omitted).

      14.        Unlike preliminary injunction proceedings, a party “need not

establish immediate and irreparable injury to justify expedited review under Rule

57.” Cty. of Butler, 2020 U.S. Dist. LEXIS 93484, at *14, n. 3. Even if

irreparable injury is a factor, “federal courts have long held that the deprivation of

constitutional rights – particularly rights enshrined in the First Amendment – is

presumed to be irreparable,” and therefore supports expedited review under Rule

57. Id.

          15.   Additionally, Rule 26 of the Federal Rules of Civil Procedure permits

 discovery to take place on an expedited basis, prior to a Rule 26(f) conference,



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when such discovery is “authorized by ... court order.” Fed. R. Civ. P. 26(d).

      16.   “A district court has wide latitude in structuring discovery and its

rulings will not be overturned absent a showing of a clear abuse of discretion.”

Westchester Fire Ins. Co. v. Household Int’l, Inc., 167 Fed. App’x 895, 899 n.2

(3d Cir. 2006) (citing McMullen v. Bay Ship Mgmt., 335 F.3d 215, 217 (3d Cir.

2003)).

      17.   “The latitude given the district court extends as well to the manner in

which it orders the course and scope of discovery.” Ardrey v. United Parcel Servs.,

798 F.2d 679, 682 (4th Cir.1986) citing Eggleston v. Chicago Journeymen

Plumbers Etc., 657 F.2d 890, 902 (7th Cir. 1981) and Sanders v. Shell Oil Co., 678

F.2d 614, 618 (5th Cir. 1982). See also Cty. of Butler, 2020 U.S. Dist. LEXIS

93484, *16 (“The Court has the authority to streamline, limit and shorten the

discovery process in a manner best suited to the case at hand.”).

      18.   This Court and its sister courts in this Circuit have analyzed the

question under a good cause standard. See, e.g., Samuel, Son & Co. v. Beach,

2013 U.S. Dist. LEXIS 129486, at *6–*7 (W.D. Pa. Sept. 11, 2013) (recognizing

that courts should consider whether “the plaintiff’s need for expedited discovery,

in consideration of the administration of justice, outweighs the possible prejudice


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or hardship to the defendant”); Kone Corp. v. TyssenKrupp USA, Inc., 2011 U.S.

Dist. LEXIS 109518, at *10 (D. Del. Sept. 26, 2011) (same).

      19.   All the foregoing factors and elements, including good cause, are

met in this case, counseling in favor of granting the expedited discovery.

Importantly, almost all documents sought are public records for which Plaintiffs

have a right to inspect.

      20.   Few rights, if any, are more important than the right to free and fair

elections, conducted with integrity and transparency, the very right at issue here.

      21.   Also, the subject matters of the requested expedited discovery are

limited and targeted to recent, easily accessible information necessary to allow

this Court to make a timely determination of the important constitutional rights

Plaintiffs seek to defend.

                                      Respectfully submitted,

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